Case 2:19-cr-00120-MEF Document 500-32 Filed 08/03/23 Page 1 of 8 PageID: 25553




                    EXHIBIT 30
            Case 2:19-cr-00120-MEF Document 500-32 Filed 08/03/23 Page 2 of 8 PageID: 25554
FD-302 (Rev. 5-8-10)
                                                                         - 1 of 7 -

                                                  FEDERAL BUREAU OF INVESTIGATION


                                                                                                                            Date of entry       06/22/2018


                BALAJI SUBRAMANIAN (BS), was interviewed at the Four Seasons located
            at 190 Orchard Blvd, Singapore. Trial Attorney Kevin Gingras, Department
            of Justice, Fraud Section (DOJ), AUSA Courtney Howard, United States
            Attorney's Office, District of New Jersey, and FBI Special Agent (SA)
            Kelly Blanchfield participated in the interview. BS was represented by
            legal counsel William Stellmach, Zachary Cobb, and John Joy from Willkie
            Far & Gallagher.

               Prior to the interview commencing, BS reviewed and signed a proffer
            agreement with the DOJ. BS was told to be truthful as to whatever he can
            remember. BS was advised that at any point, he can discuss with his legal
            counsel or take breaks as needed. After being advised of the identity of
            the interviewing agent, DOJ, and AUSA, and the nature of the interview, BS
            provided the following information:

               BS graduated college with a civil engineering degree and a post
            graduate degree in construction management. Subsequently, BS began
            employment with L&T. BS started as a Site Construction Engineer on the New
            Delhi International Airport Project for L&T. BS was responsible for work
            force management and resources on site. BS transitioned to the planning
            office of L&T which focused on the planning of projects and identification
            of delays. BS relayed the information about the project status to clients.
            BS was in this role for approximately two and a half years.

               BS transferred to the Mumbi Office of L&T in the tendering department
            until 2011. In early 2011, BS transferred to L&T's Headquarters located in
            Chennai, India in the resource department. BS did not have any client
            interactions in the resource department.

               In 2012, BS was assigned as a Planning Engineer for the COGNIZANT
            project: KITS. BS's responsibilities included relaying expectations to
            customers about the status of projects as well as micro level planning
            that included the design phases, procurement phase, and execution phase of
            the project. BS had limited interactions with the client. BS was
            responsible for site coordination and managed resources for the KITS




   Investigation on    05/21/2018           at   Singapore, Singapore (In Person)

   File #                                                                                                                   Date drafted     06/12/2018

   by   BLANCHFIELD KELLY SUSAN
  This document contains neither recommendations nor conclusions of the FBI. It is the property of the FBI and is loaned to your agency; it and its contents are not
  to be distributed outside your agency.                                                                                     DOJ-302-00000152
FD-302a (Rev.Case
             05-08-10)2:19-cr-00120-MEF     Document 500-32 Filed 08/03/23 Page 3 of 8 PageID: 25555



Continuation of FD-302 of (U)   Interview of BALAJI SUBRAMANIAN        , On   05/21/2018   , Page   2 of 7



          project. BS supervised approximately 10-12 Planning Engineers. BS worked
          on the KITS project until approximately August 2015 when the project was
          in a closing phase.

             After August 2015, BS worked in the tender department for L&T and
          reported to the Tendering Head. BS's responsibility was to interact with
          clients and submit bids on behalf of L&T.

          {Agent Note: BS was shown document DOJ_BS000001 through DOJ_BS000006,
          which was an e-mail correspondence dated April 22, 2013 through November
          26, 2013 with the subject of "FW: KITS- Update required-Urgent"}

             TNK was the Head of Operations at the Cluster Level for L&T. The
          Cluster Manager managed project managers and had approximately 5-6
          projects. The clusters were based on geographical areas.

             COGNIZANT wanted to employ approximately 70,000 employees on the KITS
          campus. L&T designed the facility. The ENSYS Consultant was a consultant
          to assist with getting the environmental permit for the KITS facility. The
          consultant was an expert in understanding the environmental standards for
          the region. The consultant submits the paperwork to the government
          agencies and was responsible for doing a presentation to the government
          office. The consultant was NATHAN LNU.

               NATHAN was the only consultant that was used on the KITS project.

             VENKATESAN N was the site project manager for KITS. VENKATESAN was BS'
          point of contact for COGNIZANT. BS did not interact with SRIDHAR
          THIRUVENGADAM, Vice President of the Strategic Initiative Department or
          SRIMANIKANDAN RAMAMOORTHY (MANI), Head of Infrastructure and Real Estate.
          MANI participated in the Management Review Meetings (MRM).

             BS had a clear role in regards to obtaining statutory approvals.
          COGNIZANT required the information about the design of the facility from
          L&T in order to provide that information to the government agencies. BS
          assisted with submitting the paperwork to the government agencies and
          updating COGNIZANT once the approval for the planning permit was obtained.
          COGNIZANT was responsible to pay any fees associated with the planning
          permit. There were times that L&T paid fees on behalf of COGNIZANT and
          would seek reimbursement based on the client's request.

             BS did not recall if the planning permit application was processed by
          the Chennai Metropolitan Development Authority (CMDA).




                                                                                   DOJ-302-00000153
             Case 2:19-cr-00120-MEF Document 500-32 Filed 08/03/23 Page 4 of 8 PageID: 25556
FD-302a (Rev. 05-08-10)




Continuation of FD-302 of (U)   Interview of BALAJI SUBRAMANIAN   , On   05/21/2018   , Page   3 of 7




           {Agent Note: BS was shown document DOJ_BS000041 through DOJ_BS000043,
           which was an e-mail correspondence dated December 11, 2013 with the
           subject of "COGNIZANT KITS- MRM 10 MOM- Draft Copy"}

              ARUN RAJA MOHAN was the project architect for L&T and attended the
           review meetings. The attachment was the Minutes to the Meeting. BS drafted
           the attachment.

              The Statutory Approvals line item (#5) was information that was
           provided from the project manager about a MEPZ November meeting. BS did
           not attend the MEPZ November meeting.

              At the time that the attachment was drafted, the planning permit
           application was submitted and there was back and forth communications
           about discrepancies and missing documents. COGNIZANT was putting pressure
           on L&T to rectify the corrections and resubmitted the required paperwork.
           BS was informed about the communications regarding the planning permit
           because it was BS' responsibility to invoice the customers on a monthly
           basis and provide updates to the client.

              BS did not recall what actions were being taken by L&T; however, he
           thought that it could be about missing documents.

           {Agent Note: BS was shown document DOJ_BS000018, which was an e-mail
           correspondence dated December 14, 2013 with the subject of "COGNIZANT-
           KITS Project, Sholinganallur- Minutes of MRM- 10 held on 4th Dec '13 at
           site- Reg"}

              BS did not recall if any feedback was provided from the draft copy to
           the final copy.

              BS was not aware of anything specific that happened in December 2013
           through April 2014 to expedite the approval of the planning permit. BS
           recalled that the planning permit was delayed and that COGNIZANT was
           frustrated. CGONIZANT wanted the facility to be operational as soon as
           possible.

              The MRMs were supposed to happen monthly; however, some months were
           missed at the start and end of the project. COGNIZANT scheduled the MRMs.

              BS did not go to lunch often after the MRMs. It would have been very
           unusual to go to lunch with a client after the MRM. BS did not recall
           going to lunch with COGNIZANT at a Thai restaurant.


                                                                              DOJ-302-00000154
FD-302a (Rev.Case
             05-08-10)2:19-cr-00120-MEF     Document 500-32 Filed 08/03/23 Page 5 of 8 PageID: 25557



Continuation of FD-302 of (U)   Interview of BALAJI SUBRAMANIAN        , On   05/21/2018   , Page   4 of 7



          {Agent Note: BS was shown document DOJ_BS000025, which was an e-mail
          correspondence dated November 3, 2014 with the subject of "RE: COGNIZANT
          KITS Sholinganallur- Extension of Time- Reg"}

             The attachment was a schedule of approval dates. The project manager or
          the client would give BS the approval dates since the client was
          interacting with the government agencies. The client gave BS the
          information, BS inputted the information in the presentation, and then
          presented back to the client.

          {Agent Note: BS was shown document DOJ_BS000021 through DOJ_BS000024,
          which was an e-mail correspondence dated March 26, 2014 with the subject
          of "COGNIZANT KITS Sholinganallur- Minutes of the Management Review
          Meeting held on 14 Mar '14-Reg"}

             BS was unsure if he drafted the attachment. BS assumed that all of the
          points that were listed in the attachment were discussed during the
          meeting; however, BS did not recall the conversation. BS did not remember
          anything different about this review meeting.

          {Agent Note: BS was shown document DOJ_BS000045 through DOJ_BS000051,
          which was an e-mail correspondence dated December 3, 2013 through April
          15, 2014 with the subject of "FW: KITS - MOM for the statutory meeting
          Held on 27th Nov 13"}

             COGNIZANT pressured L&T to get the approval from the government agency
          quickly. BS did not recall any discussions about a meeting with the
          Ministry of have COGNIZANT meet with the Chief Ministry (CM).

             BS remembered that the issues with COGNIZANT being elevated up the
          chain at L&T. COGNIZANT wanted the facility to be operational and needed
          the approvals quickly even though L&T did not have any control over the
          approval process. L&T and COGNIZANT were helpless since the application
          was with the government agencies.

             BS was unsure what the principal decision was and BS would not have had
          the privilege of that information. BS was unsure why the e-mail
          correspondence was forwarded to him. The date was not of any significance
          to BS.

             There was a couple instances in which COGNIZANT froze payments to L&T.
          BS was unsure about the reasons for the delay in payments. BS did not see
          any relation between the freeze of payments and the planning permit.


                                                                                   DOJ-302-00000155
             Case 2:19-cr-00120-MEF Document 500-32 Filed 08/03/23 Page 6 of 8 PageID: 25558
FD-302a (Rev. 05-08-10)




Continuation of FD-302 of (U)   Interview of BALAJI SUBRAMANIAN   , On   05/21/2018   , Page   5 of 7



              L&T did not hire a consultant to expedite the planning permit approval
           in April or May.

           VARIATION PROCESS

              The contract agreement listed all of L&T's responsibilities for each
           project. L&T prepared a list of variations for modifications to the
           project that came up after the contract was signed. The variations were
           submitted to COGNIZANT in order to seek reimbursement for the variations
           which resulted in a negotiation.

              The cost of the variations was given to BS from the site. BS did not
           recall any variation inputs for statutory approvals. Statutory approvals
           were already included in the contracted sum so there would not be a
           separate variation line for statutory approvals.

           {Agent Note: BS was shown document DOJ_BS000007 which was an e-mail
           correspondence dated August 6, 2014 with the subject of "Cognizant KITS
           Sholinganallur- Variation/Extra Items"}

              VRH was RAMESH VADIVELU. DHINESH NAGRAJ was a planning engineer that
           worked with BS. The e-mail was drafted in preparation for the variation
           process.

              #1 in the e-mail was L&T claiming for the overstay costs that L&T
           incurred at the KITS site. When the contract was signed for the KITS
           project, L&T was supposed to have 100% access to the land in order to
           start construction. The sales deed for the plot of land had discrepancies.
           In order to rectify the discrepancies, COGNIZANT caused a delay with the
           KITS project. The plot of land was measured again and approved by the
           government agencies in India approximately a year later. L&T incurred
           direct costs to assist COGNIZANT with the land issue.

              #2 in the e-mail was for the extended stay expenses that L&T incurred.
           The 15.2 amount was a "rule of thumb" number. BS took the base from the
           contract and calculated 15.2 based on 10-12 months of extended stay, which
           was a breakdown of 1.5 Crores per month. The contract sum was 925 Crores
           for indirect costs that included mobilizing staff, expenses on site, and
           setting up offices. The indirect costs were approximately 35-45 Crores for
           34 months. BS calculated 1.5 Crores per month for 10 months.

              During the extended stay, L&T incurred expenses to stay on site. The
           project was contracted to be 34 months and due to the delays, L&T was on
           site for 44 months. Per the contract, L&T was supposed to get compensated
           for delays from the government agencies. This was a protection as a


                                                                              DOJ-302-00000156
FD-302a (Rev.Case
             05-08-10)2:19-cr-00120-MEF     Document 500-32 Filed 08/03/23 Page 7 of 8 PageID: 25559



Continuation of FD-302 of (U)   Interview of BALAJI SUBRAMANIAN        , On   05/21/2018   , Page   6 of 7



          contractor. BS was not involved in other COGNIZANT projects so he was not
          aware if the reimbursement happened during other COGNIZANT projects.

             L&T did not incur any expenses due to extended stay from the land issue
          at COGNIZANT. L&T was on site and started construction while COGNIZANT
          fixed the land issue.

             #3-6 in the e-mail came from VADIVELU. BS did not know why Siruseri
          expenses were included in the KITS variations. BS did not know how
          VADIVELU calculated the Siruseri amount.

          {Agent Note: BS was shown document DOJ_BS000038 through DOJ_BS000040,
          which was an e-mail correspondence dated August 22, 2014 with the subject
          of "COGNIZANT KITS Sholinganallur- Extension of Time- Letter- Reg"}

             The e-mail discussed a flooring item that was included in the variation
          for the KITS project. In August 2014, the KITS building was completely
          finished and COGNIZANT wanted to change the flooring. The variation was
          for the indirect costs associated with the design changes.

          {Agent Note: BS was shown document DOJ_BS000033 through DOJ_BS000037,
          which was an e-mail correspondence dated October 6, 2014 through October
          18, 2014 with the subject of "FW: COGNIZANT KITS Sholinganallur- Client
          Invoice Certification - Reg"}

             L&T seeked reimbursement for the extended stay issue at the KITS
          facility. L&T was aware that the government offices was taking time to
          approve the planning permit which caused a delay in the project. L&T
          assisted with the planning permit by submitting documents promptly;
          however, there was nothing else that L&T could have done.

          {Agent Note: BS was shown document DOJ_BS000016 through DOJ_BS000017,
          which was an e-mail correspondence dated October 29, 2014 with the subject
          of "COGNIZANT KITS VARIATION CLAIMS"}

             The variation process was ongoing and started towards the end of the
          project. L&T looked at the final sum of the variations and gave a breakout
          by line items for approval to the client. All of the variation items were
          requested by COGNIZANT except "#32 Approvals/Campus Regularisation".

             {Agent Note: BS was shown document DOJ_BS000008 which was an e-mail
          correspondence dated January 13, 2015 with the subject of "Variation"}




                                                                                   DOJ-302-00000157
             Case 2:19-cr-00120-MEF Document 500-32 Filed 08/03/23 Page 8 of 8 PageID: 25560
FD-302a (Rev. 05-08-10)




Continuation of FD-302 of (U)   Interview of BALAJI SUBRAMANIAN   , On   05/21/2018   , Page   7 of 7




              BS did not remember submitting a variation claim to COGNIZANT or to
           remove the language regarding statutory approvals. BS was not sure for the
           reason that the e-mail was drafted. BS was unaware that the item listed in
           the e-mail was previously rejected by COGNIZANT. BS did not recall any
           conversations with COGNIZANT or internally at L&T that discussed swapping
           specific line item variations for statutory approvals.




                                                                              DOJ-302-00000158
